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                         The New York State Department of Health
Notification of Legislation Removing Non-medical Exemptions to Required Vaccinations

                                        July 16, 2019


 The New York State Department of Health (Department) is sending this letter to remind
 providers of their important role and responsibility in protecting the public health amid the
 ongoing measles outbreaks in several counties in New York State. These outbreaks are
 primarily driving the worst outbreak of measles in the United States in more than 25 years.

 To help mitigate this crisis, Governor Andrew M. Cuomo signed new legislation on June
 13, 2019 amending Public Health Law (PHL) §2164 (see attached) . While preserving
 the use of medical exemptions to required vaccinations, this legislation no longer permits
 non-medical exemptions to the requirement that children attending public, private and
 parochial schools for pre-kindergarten through 12 th grade, or attending child daycare
 settings. Such children must either be vaccinated against measles and other identified
 infectious diseases, or otherwise provide evidence of immunity to these illnesses, as
 allowed by law, before presenting to any of the above settings.

 The attached medical exemption guidelines are intended for use by health care
  practitioners to assist them in determining the appropriate use of immunization -related
 medical exemptions for school-aged children as well as providing a sample form for their
 use. These guidelines review medical exemptions according to current accepted medical
 practice standards as defined by the Centers for Disease Control and Prevention’s Advisory
 Committee on Immunization Practices. It also provides additional information on how to
 determine whether contraindications/precautions exist to vaccination, outlines the process
 for filing medical exemptions, and provides a listing of additional immunization resources
 available for your reference.

 It has come to our attention that apparently invalid medical exemptions have been
 provided to families seeking to avoid required vaccinations. Additionally, we are aware
 of cases of apparent falsification of medical records, such as New York State
 Immunization Information System (NYSIIS) records, either on the part of physicians or
 of the families of patients. As you are aware, physicians found to have participated in
 these or other fraudulent behaviors will be referred to the Board for Professional Medical
 Conduct for possible disciplinary action, pursuant to the provisions of Public Health Law
 and State Education Law.

 The Department has also learned of incidents of parents intentionally misleading
 physicians who are not familiar with their family regarding the true identity of the children
 they bring to the practice. Parents may bring in a child who is not their own, so that a
 blood test for immunity can be drawn in another child’s name. This may occur more often
 in urgent care practices, where providers may not know the patients they see. Please
 remain vigilant in your interactions with families to prevent such illegal behavior and
 confirm the identity of the child whenever possible.

 As in all medical matters, providers are expected to uphold their professional integrity
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and abide by all laws and regulations governing the practice of medicine in order to
preserve the public health without bias. Your actions and those of your staff can have
significant consequences, both positive and negative. There can be no breach in
upholding all efforts taken to curb this serious outbreak, for the sake of those who would
be unknowingly exposed, made ill and perhaps face potentially serious, long term side
effects of the disease.

Physicians and other healthcare providers are reminded once again that under the New
York State Sanitary Code (10 NYCRR §2.10), it is mandatory to report certain suspected
or confirmed cases of communicable diseases to the local health department of the
jurisdiction where the patient resides. Please see the attached list of reportable diseases
for the required timing of reporting. Notification must be made by calling the local health
department and submitting a confidential case report form (DOH-389) to the applicable
local health department, or in New York City, submitting report form PD-16 to the New
York City Department of Health and Mental Hygiene.

Please review the additional provider responsibilities described in the attached letter,
dated and distributed, April 18, 2019. For questions, please call: (518) 473-4437 or send
email to: immunize@health.ny.gov.

As always, we appreciate your cooperation and partnership in protecting the health of
all our citizens.




Paula M. Breen                                     Robert A. Catalano, M.D., MBA
Acting Director                                    Executive Secretary
Office of Professional Medical Conduct             Board for Professional
                                                   Medical Conduct




Attachments:

Public Health Law 2164

Immunization-Related Medical Exemptions for School-Aged Children

Dear CEO, Administrator and Physician Letter: DAL – DHDTC 19-05

Department of Health, Office of Professional Medical Conduct:
http://www.health.ny.gov/professionals/doctors/conduct/
